Case 3:21-cv-00056-DJH-CHL Document 1 Filed 01/29/21 Page 1 of 4 PageID #: 1




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

                               ELECTRONICALLY FILED

MAAN RAAD ALFADHLI                           )
                                             )
        PLAINTIFF                            )
                                             )                      3:21-CV-56-DJH
                                                 Civil Action No. _________________
v.                                           )
                                             )
UNITED FINANCIAL CASUALTY                    )
COMPANY D/B/A PROGRESSIVE                    )
CASUALTY INSURANCE COMPANY;                  )
and                                          )
SAFECO INSURANCE COMPANY                     )
OF ILLINOIS D/B/A LIBERTY                    )
MUTUAL INSURANCE COMPANY                     )
                                             )   Removed from:
          DEFENDANTS                         )   Jefferson Circuit Court, Div. 2
                                             )   Case No. 21-CI-000053
____________________________________         )

                                NOTICE OF REMOVAL

       Comes the Defendant, Safeco Insurance Company of Illinois d/b/a Liberty

Mutual Insurance Company (“Safeco”), by counsel, and for its notice of removal of this

action from the Jefferson Circuit Court to the United States District Court for the Western

District of Kentucky, Louisville Division, states as follows:

              1.     On January 12, 2021, Safeco was served with the Plaintiff’s

       complaint, and summons filed in the Jefferson Circuit Court, Division 2 under case

       number 20-CI-000053.

              2.     Upon information and belief, and at all times relevant hereto,

       Plaintiff Maan Raad Alfadhli was and is an individual resident and citizen of the
Case 3:21-cv-00056-DJH-CHL Document 1 Filed 01/29/21 Page 2 of 4 PageID #: 2




     Commonwealth of Kentucky. Upon information and belief, the Plaintiff claims

     damages in excess of $75,000, exclusive of interest and costs.

            3.     Upon information and belief, and at all times relevant hereto,

     Defendant United Financial Casualty Company d/b/a Progressive Casualty

     Insurance Company (“United Financial Casualty Company”) was and is a

     corporation formed under the laws of the state of Ohio with a principal place of

     business at 6300 Wilson Mills Road, Cleveland, Ohio. United Financial Casualty

     Company provided an automobile insurance policy to the Plaintiff, with

     uninsured motorist policy limits of $150,000, which United Financial Casualty

     Insurance is claiming is excess to any other available insurance coverage.

            4.     Defendant Safeco is and was at all times relevant hereto, including

     the time of the filing of this notice of removal and at the commencement of the

     state court action, an Illinois corporation with a principal place of business located

     at 175 Berkeley Street, Boston, Massachusetts. Safeco provided an automobile

     insurance policy to the Plaintiff, with uninsured motorist policy limits of $50,000,

     but no uninsured motorist coverage is available under this policy due to a clear

     and unambiguous livery exclusion in the policy.

            5.     Copies of all process and pleadings in the state court action are

     attached hereto as required by 28 U.S.C. § 1446(a).

            6.     The action is one over which the Court has original jurisdiction

     under 28 U.S.C. § 1332(a)(1), and is one which the Defendants may remove to this

     Court under 28 U.S.C. § 1441, because this is an action between citizens of different

                                           2
Case 3:21-cv-00056-DJH-CHL Document 1 Filed 01/29/21 Page 3 of 4 PageID #: 3




     states and the amount in controversy exceeds $75,000, exclusive of interest and

     costs.

              7.   This notice of removal is filed within 30 days after Safeco was served

     with the Plaintiff’s complaint in the state court action, and within one year after

     the commencement of this action.

              8.   Defendant United Financial Casualty Company consents to the

     removal of this case from state to federal court.

                                        Respectfully submitted,


                                        /s/Akesha Kirkpatrick
                                        Charles H. Cassis, Esq.
                                        Akesha Kirkpatrick
                                        Goldberg Simpson, LLC
                                        Norton Commons
                                        9301 Dayflower Street
                                        Prospect, KY 40059
                                        akirkpatrick@goldbergsimpson.com
                                        PH: (502) 589-4440 / FAX: (502) 581-1344
                                        Counsel for Defendant,
                                        Safeco Insurance Company of Illinois




                                           3
Case 3:21-cv-00056-DJH-CHL Document 1 Filed 01/29/21 Page 4 of 4 PageID #: 4




                              CERTIFICATE OF SERVICE


       I hereby certify that, on this 29th day of January 2021, I electronically filed this
document through the ECF system, and I served this document through regular U.S.
Mail, postage prepaid, upon the following:

 Mark A. Weis                                    Jillian D. House
 ROMINES WEIS & YOUNG PSC                        WARD, HOCKER & THORNTON, PLLC
 600 West Main Street                            333 West Vine Street,
 Suite 100                                       Suite 1100
 Louisville, KY 40202                            Lexington, KY 40507
 Counsel for Plaintiff                           Counsel for Defendant United Financial
                                                 Casualty Company




                                          /s/Akesha Kirkpatrick
                                          Counsel for Defendant,
                                          Safeco Insurance of Illinois




                                             4
